Case:20-02873-EAG13 Doc#:88 Filed:01/27/22 Entered:01/31/22 16:31:59                          Desc: Main
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                             UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF PUERTO RICO

                                             Minute Entry

 Hearing Information:

 Debtor: LYDIA IDANIS OTERO ENCARNACION
 Case Number: 20-02873-EAG13                                             Chapter: 13
 Date / Time / Room: 01/27/2022 01:30 pm
 Bankruptcy Judge: EDWARD A. GODOY
 Courtroom Clerk: YOLANDA DIAZ
 Reporter / ECR: GRACIELA MUNIZ

 Matter:

 CONFIRMATION HEARING OF AMENDED PLAN DATED 11/16/2021 (#69)
 OBJECTION TO CONFIRMATION FILED BY FEDERICO ROBLES COLLAZO (#84)

 Appearances:

 ALEJANDRO OLIVERAS RIVERA
 JUAN O CALDERON LITHGOW
 LISSETTE A. MORALES VIDAL for creditor Federico Robles Collazo

 Proceedings:

 ORDER:

 The confirmation of debtor’s amended plan dated November 16, 2021 (docket #69) is denied. PR LBR
 3015-3(g) applies with a 14-day objection language. Order due by February 10, 2021. The Clerk is to
 follow up by February 15, 2022. If no compliance, dismiss the case without further notice or hearing. If
 complies, follow the standard procedures.


                                                   /S/EDWARD A. GODOY
                                                    U.S. Bankruptcy Judge
